     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 1 of 21 Page ID #:1




1    NICOLA T. HANNA
2    United States Attorney
     LAWRENCE S. MIDDLETON
3    Assistant United States Attorney
     Chief, Criminal Division
4    STEVEN R. WELK
5    Assistant United States Attorney
     Chief, Asset Forfeiture Section
6    JONATHAN GALATZAN
     California Bar No. 190414
7    Assistant United States Attorney
8    Asset Forfeiture Section
        Federal Courthouse, 14th Floor
9       312 North Spring Street
        Los Angeles, California 90012
10      Telephone: (213) 894-2727
11      Facsimile: (213) 894-7177
        E-mail: Jonathan.Galatzan@usdoj.gov
12
     Attorneys for Plaintiff
13   UNITED STATES OF AMERICA
14
                          UNITED STATES DISTRICT COURT
15
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
                                 WESTERN DIVISION
17
18   UNITED STATES OF AMERICA,      )         NO. CV 18-3596
                                    )
19             Plaintiff,           )         COMPLAINT FOR FORFEITURE
                                    )
20        v.                        )         18 U.S.C. §§ 981(a)(1)(A) and
                                    )         (C) and 984
21   $213,694.00 IN U.S. CURRENCY,  )
     $108,526.76 SEIZED FROM TD     )         [F.B.I.]
22   AMERITRADE ACCOUNT NUMBER XXX- )
     3394, $922,452.18 SEIZED FROM  )
23   MORGAN STANLEY ACCOUNT XXX-    )
     0005, $116,103.94 SEIZED FROM  )
24   MORGAN STANLEY CHOICE SELECT   )
     RETIREMENT ACCOUNT NUMBER XXX- )
25   1005, $150,527.00 SEIZED FROM  )
     CITY NATIONAL SECURITIES       )
26   ACCOUNT NUMBER XXX-9974, ONE   )
     2015 MERCEDES-BENZ S65V,       )
27   ONE 2014 FERRARI CALIFORNIA,   )
     ONE 2010 FORD MUSTANG SHELBY   )
28   CT600, ONE 2009 CIGARETTE 38’  )

                                          1
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 2 of 21 Page ID #:2



     TOP GUN BOAT, ONE 2005 FERRARI )
1    F430, ONE 1991 FERRARI F40, AND )
     ONE 1969 L88 CHEVROLET          )
2    CORVETTE,                       )
                                     )
3              Defendants.           )
     _______________________________ )
4
5         For its claims against defendants $213,694.00 in U.S.
6    Currency, $108,526.76 Seized From TD Ameritrade Account Number
7    XXX-3394, $922,452.18 Seized From Morgan Stanley Account Number
8    XXX-0005, $116,103.94 Seized From Morgan Stanley Choice Select
9
     Retirement Account Number XXX-1005, $150,527.00 Seized From City
10
     National Securities Account Number XXX-9974, One 2015 Mercedes-
11
     Benz S65V, One 2014 Ferrari California, One 2010 Ford Mustang
12
     Shelby CT600, One 2009 Cigarette 38’ Top Gun Boat, One 2005
13
     Ferrari F430, One 1991 Ferrari F40, and One 1969 L88 Chevrolet
14
     Corvette (collectively, the “defendant assets”), plaintiff
15
     United States of America alleges as follows:
16
                              JURISDICTION AND VENUE
17
          1.    This is a civil forfeiture action brought pursuant to
18
     18 U.S.C. §§ 981(a)(1)(A) and (C) and 984.
19
          2.    This Court has jurisdiction over the matter under 28
20
     U.S.C. §§ 1345 and 1355.
21
          3.    Venue lies in this district pursuant to 28 U.S.C.
22
     § 1395(b).
23
                               PERSONS AND ENTITIES
24
          4.    The plaintiff is the United States of America.
25
          5.    The defendants in this action consist of the
26
     following:
27
28

                                          2
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 3 of 21 Page ID #:3




1               i.    $213,694.00 in U.S. Currency seized during the
2    execution of a federal search warrant from the residence of
3    Richard Scott, located in Santa Monica, California 1 on November
4    8, 2017;
5               ii.   $108,526.76 In Funds Seized From One TD
6    Ameritrade Account, which account is in the name of Richard and
7    Rene Scott, has an account number with the last four digits
8    ending in 3394 2 (the “TD Ameritrade 3394 Account”) and the funds
9    from which were seized pursuant to the execution of a federal
10   seizure warrant at TD Ameritrade, 9757 Wilshire Blvd., Beverly
11   Hills, California on November 9, 2017;
12              iii. $922,452.18 In Funds Seized From One Morgan
13   Stanley Account, which account is in the name of Richard Scott,
14   has an account number with the last four digits ending in 0005
15   (the “Morgan Stanley 0005 Account”) and the funds from which
16   were seized pursuant to the execution of a federal seizure
17   warrant at Morgan Stanley, 282 Cabot Road, #500, Laguna Niguel,
18   California on December 14, 2017;
19              iv.   $116,103.94 In Funds Seized From One Morgan
20   Stanley Choice Select Retirement Account, which account is in
21   the name of Richard Scott, has an account number with the last
22   four digits ending in 1005 (the “Morgan Stanley 1005 Account”)
23   and the funds from which were seized pursuant to the execution
24
25        1 Pursuant to Local Rule 5.2-1, only the city and state of
     residence addresses are set forth in this Complaint.
26
          2 Pursuant to Fed.R. Civ. P. 5.2(a)(4) and Local Rule 5.2-1,
27
     only the last four digits of financial account numbers are set
28   forth in this Complaint.
                                          3
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 4 of 21 Page ID #:4




1    of a federal seizure warrant at Morgan Stanley, 282 Cabot Road,
2    #500, Laguna Niguel, California on December 14, 2017;
3               v.    $150,527.00 In Funds Seized From One City National
4    Securities Account, which account is in the name of Richard
5    Scott, has an account number with the last four digits ending in
6    9974 (the “CNS 9974 Account”) and the funds from which were
7    seized pursuant to the execution of a federal seizure warrant at
8    City National Bank, 525 S. Flower Street, Los Angeles,
9    California on November 14, 2017;
10              vi.   One 2015 Mercedes-Benz S65V, which vehicle has
11   Vehicle Identification Number (“VIN”) WDDUG7KB1FA100976, is
12   registered to Richard Scott and was seized pursuant to the
13   execution of a federal seizure warrant on November 8, 2017 from
14   Richard Scott’s Santa Monica, California, residence;
15              vii. One 2014 Ferrari California, which vehicle has
16   VIN ZFF65TJA6E0195924, is registered to Richard Scott and Rene
17   Scott and was seized pursuant to the execution of a federal
18   seizure warrant on November 8, 2017 from Richard Scott’s Santa
19   Monica, California, residence;
20              viii.One 2010 Ford Mustang Shelby CT600, which vehicle
21   has VIN 1ZVBP8KS6A5153369, is registered to Richard Scott and
22   was seized pursuant to the execution of a federal seizure
23   warrant on November 8, 2017 from Richard Scott’s Santa Monica,
24   California, residence;
25              ix.   One 2009 Cigarette 38’ Top Gun Boat, which boat
26   has Hull Identification Number CRTUST05L809, is registered to
27   Richard Scott and was seized from its dock pursuant to the
28

                                          4
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 5 of 21 Page ID #:5




1    execution of a federal seizure warrant in North Miami, Florida,
2    on November 8, 2017;
3               x.    One 2005 Ferrari F430, which vehicle has VIN
4    ZFFEW58AX50141441, is registered to Richard Scott and was seized
5    pursuant to the execution of a federal seizure warrant on
6    November 8, 2017 from Richard Scott’s Santa Monica, California,
7    residence;
8               xi.   One 1991 Ferrari F40, which vehicle has VIN
9    ZFFMN34A2M0087589, is registered to Richard Scott and was seized
10   pursuant to the execution of a federal seizure warrant on
11   November 8, 2017 from Richard Scott’s Santa Monica, California,
12   residence; and
13              xii. One 1969 L88 Chevrolet Corvette, which vehicle
14   has VIN 194679S719392, is registered to Richard Scott and was
15   seized pursuant to the execution of a federal seizure warrant on
16   November 8, 2017 from Richard Scott’s Santa Monica, California,
17   residence.
18   Items 5 ii through 5 v are referred to collectively as the
19   “defendant bank funds.”
20        6.    The defendant assets are in the custody of the United
21   States Marshals Service in this District, except for defendant
22   One 2009 Cigarette 38’ Top Gun Boat which is in the custody of
23   the United States Marshals Service in the Southern District of
24   Florida where they shall remain subject to this Court’s
25   jurisdiction during the pendency of this action.
26        7.    The interests of Richard Scott (“Scott”), Rene Scott
27   (“R. Scott”), the U.S. Department of Veterans Affairs (the
28

                                          5
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 6 of 21 Page ID #:6




1    “VA”), First Entertainment Credit Union, and TD Auto Finance LLC
2    may be adversely affected by these proceedings.
3
4                        EVIDENCE SUPPORTING FORFEITURE
5         8.    In approximately 1999, Scott entered into a contract
6    with the VA to operate parking lots on the campuses of the VA
7    Greater Los Angeles Healthcare System (“VA GLAHS”).          By 2002, a
8    new contract was entered into that required Scott’s business,
9    Westside Services Limited Liability Company (“WSS”), to provide
10   the VA with 60% of its gross revenue and to report annually on
11   revenue collected and improvements and services provided by WSS
12   in lieu of revenue payments (“The Contract”).         Based on the
13   investigation, the government determined that Scott maintained
14   at least two sets of financial books, one of which he reported
15   to the VA, which contained false revenue and expense statements,
16   and a second, maintained by his bookkeeper/tax preparer, which
17   contained actual expenditures.       During the course of The
18   Contract, Scott underreported revenue to the VA by a minimum of
19   $6,518,024 and over-reported expenses to the VA by a minimum of
20   $8,344,309, which caused a fraud loss to the VA of at least
21   $13,005,921. 3   (This underreported revenue figure does not
22   include all unreported cash, potentially totaling $1 million or
23   more from parking at the Barrington Place Lot, UCLA baseball
24   games, and other cash parking events.)        In addition, Scott began
25   bribing the VA contracting official responsible for overseeing
26
          3 The fraud loss does not credit WSS with a $386,228 payment
27
     that was made by WSS to VA on or about December 12, 2016 after
28   Scott was accused of fraud by the VA.
                                          6
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 7 of 21 Page ID #:7




1    the contract in 2003 and continued to bribe him on a regular
2    basis until the VA official abruptly retired in 2014 after
3    Government investigators interviewed him.         Following the
4    official’s retirement, Scott continued making payments to the
5    former VA official in order to continue to conspire against the
6    VA and attempt to avoid termination of The Contract.
7         9.    As a result of the long-running scheme to defraud the
8    VA, Scott amassed considerable wealth, including three
9    condominiums in Santa Monica, California, each of which is
10   valued at approximately $2,500,000, numerous high-end
11   collectible cars, including three Ferraris, a Cigarette racing
12   boat (docked in Miami, Florida), and brokerage accounts.
13   Between 2003 and 2016, Scott also utilized WSS business bank
14   accounts to pay for approximately $740,000 in travel, $413,000
15   in meals and entertainment, Scott’s salary of $3.1 million, and
16   countless personal expenses and owner’s draws.
17        10.   The former VA contracting official began cooperating
18   with the government in mid-May 2017, was interviewed multiple
19   times, and agreed to record his conversations with Scott.           Among
20   other things, the contracting official admitted to the bribery
21   scheme, that the contracting officer knew Scott was
22   underreporting revenue and inflating expenses reported to the
23   VA, that Scott liked contractors that paid him in cash and
24   frequently waited for cash parking events so that Scott could
25   use the proceeds of that cash to pay the official.          The
26   contracting official also admitted to law enforcement that prior
27   to first meeting with the government in May 2017, he told Scott
28   he was meeting with the government for a “reverse proffer.”            In

                                          7
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 8 of 21 Page ID #:8




1    surreptitiously recorded conversations later in May 2017, Scott
2    told the official, among other things, that he (the official)
3    never should have deposited cash (from the bribes) in his bank
4    account, questioned how law enforcement knew “that it came from
5    me?” and remarked that it was “Fucking seventy grand.           All this
6    drama for seventy grand.”      Later, after the official told Scott
7    he might cooperate with the government, Scott complained that
8    “you told me a hundred times, you weren’t going to . . . rat out
9    on me” and    “[i]f they only got you for one hundred thousand
10   bucks what’s the, that’s nothing.”
11                                  The Contract
12        11.    On July 15, 2002, the VA and Scott entered into an
13   agreement that was to commence on July 15, 2002 and expire on
14   July 14, 2012.    The Contract required that 60 percent of all
15   gross parking revenue of WSS be paid to the VA.         WSS was
16   responsible for all expenses, which would be deducted from WSS’
17   40 percent share.     Payments and    settlement statements were
18   required to be submitted quarterly, unless otherwise directed by
19   the VA’s contracting officer.
20        12.    On July 22, 2002, the VA and Scott modified The
21   Contract.    The modification provided that WSS would provide
22   parking management services on an as needed basis, including
23   improvements to parking areas within VA GLAHS, and consulting
24   and construction services related to the operation and
25   management of parking at VA GLAHS.        Scott agreed to provide
26   annual settlement statements.
27        13.    In a Memorandum for Record authored by the VA
28   contracting officer being bribed by Scott, dated April 20, 2005,

                                          8
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 9 of 21 Page ID #:9




1    the VA contracting officer documented that WSS allegedly
2    provided improvements and services in lieu of revenue to the VA
3    beginning in October 2003.        The Memorandum was approved by the
4    VA GLAHS Director.
5                            Summary of Financial Analysis
6            14.     WSS’ actual gross revenue between 2003 and 2017 was at
7    least $27,092,830.43, not the $21,244,208.57 Scott reported to
8    VA. 4       Since WSS was contractually obligated to provide 60 percent
9    of gross revenue to VA, the amount owed to VA for these years
10   was $16,255,698.26, which could have been paid by check or in-
11   kind services/improvements.
12           15.     According to the Settlement Statements provided by WSS
13   to the VA between 2003 and 2016, in-kind services/improvements
14   to VA parking lots totaled $11,651,032.15.         As WSS’ total
15   ordinary expenses during that time period were $14,290,499.42,
16   WSS’ statements meant that all but $2,639,467.27 of their
17   ordinary expenses were in-kind services/improvements for the VA.
18   In fact, WSS over-reported expenses by $8,344,309.98 and actual
19   in-kind services/improvements Scott provided to the VA only
20   totaled $3,306,722.17. 5
21           16.     As stated above, the contract between WSS and the VA
22   stated the VA was entitled to 60 percent of the actual gross
23   parking revenue earned during the term of the contract, which
24   amounted to $16,255,698.26.        This amount was owed to VA in the
25   form of check or in-kind services/improvements.          From 2003 to
26           4   WSS did not provide a 2017 Settlement Statement to the VA.
27
             5
            In a December 17, 2015 letter, the VA informed Scott that
28   the VA would no longer accept in-kind consideration.
                                           9
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 10 of 21 Page ID #:10




1     2017, actual in-kind services/improvements WSS provided in lieu
2     of revenue totaled $3,306,722.17.        In addition, Scott made
3     settlement payments to the VA of $344,696.48 during the term of
4     The Contract.    As a result of the underreported revenue and
5     over-stated in-kind services/improvements, the total fraud loss
6     to the VA was at least $13,005,921.41. 6
7                                   Asset Tracing
8           17.    Between 2003 and 2017, Scott used five bank accounts
9     to accumulate proceeds of the fraud, which were then used to
10    fund or purchase additional assets described herein.          The five
11    accounts were accounts at City National Bank with account
12    numbers with the last four digits ending in 7279 (“WSS 7279”)
13    and 5203 (“WSS 5203”), at Wells Fargo Bank with account numbers
14    with the last four digits ending in 5540 (“WSS 5540”), 3502
15    (“WSS 3502”), and 4853 (“WSS 4853”).        Revenue earned by WSS was
16    deposited into these five bank accounts and the VA was entitled
17    under The Contract to 60 percent of the actual revenue that was
18    deposited into these accounts. By not remitting the proper share
19    of actual revenue to the VA, fraud proceeds remained within
20    these five accounts.
21       The Defendant $922,452.18 seized from Morgan Stanley Account
22     0005 represents fraud proceeds traceable to a WSS business bank
23                                     account
24          18.   Morgan Stanley Account 0005 is held in the name of
25    Scott and was opened on or about September 21, 2000.
26
            6The fraud loss does not credit WSS with a $386,228 payment
27
      that was made by WSS to the VA on or about December 12, 2016
28    after Scott was accused of fraud by the VA.
                                          10
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 11 of 21 Page ID #:11




1           19.   Check #1196, drawn on WSS 5203 in the amount of
2     $135,000.00, was deposited into Morgan Stanley Account 0005 on
3     or about November 24, 2003.
4           20.   Check #2566, drawn on WSS 7279 in the amount of
5     $1,200,000.00, was deposited into Morgan Stanley Account 0005 on
6     or about November 12, 2004.      This $1,200,000.00 deposit
7     constituted the largest source of funding into Morgan Stanley
8     Account 0005.    As of the time the funds were seized, there were
9     no additional deposits into this account after this deposit.
10          21.   At the end of November 2004, Morgan Stanley Account
11    0005 contained at least $1,335,000.00 in funds from WSS, at
12    least $994,255.69 of which represented funds that should have
13    been paid to the VA, but were fraudulently withheld.          In
14    addition, funds in Morgan Stanley Account 0005 were used to fund
15    or acquire other assets.      The Defendant $922,452.18, seized by
16    the Government, represents the fraud proceeds remaining in
17    Morgan Stanley Account 0005 at the time the government seized
18    the funds from that account.
19       The Defendant $116,103.94 Seized From Morgan Stanley Account
20    1005 contains fraud proceeds traceable to Morgan Stanley Account
21                                       0005
22          22.   Morgan Stanley Account #XXX-1005 is a Simplified
23    Employee Pension Individual Retirement Account held in the name
24    of Scott and opened on or about April 10, 2003.
25          23.   The account received two transfers from Morgan Stanley
26    Account 0005 totaling $80,000.00, consisting of one transfer, on
27    April 15, 2004, in the amount of $40,000.00, and a second
28    transfer, on November 17, 2004, also in the amount of

                                          11
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 12 of 21 Page ID #:12




1     $40,000.00.    In addition, on November 17, 2005, a check for
2     $40,000.00, drawn on WSS 7279, was deposited into Morgan Stanley
3     Account 1005. There have not been any additional deposits into
4     Morgan Stanley Account 1005 since the $40,000.00 deposit on
5     November 17, 2005.
6           24.   The Defendant $116,103.94, seized by the Government,
7     represents the fraud proceeds remaining in Morgan Stanley
8     Account 1005 at the time the government seized the funds from
9     that account.
10     The Defendant One 1991 Ferrari F40 was purchased with proceeds
11                         traceable to the fraud scheme
12          25.   On or about January 17, 2015, Scott purchased the
13    Defendant One 1991 Ferrari at an auction by making a down
14    payment of $214,395.00 (paid via a check drawn on a City
15    National Bank Account with an account number ending in 6612
16    (“CNB 6612”)) while financing the remainder of the purchase
17    price via a loan from Woodside Credit, which loan Woodside
18    Credit thereafter sold to Bank of the Pacific.
19          26.   In addition, Scott repaid the loan with 26 checks
20    drawn on Morgan Stanley Account 0005 totaling $128,360.00
21    (including $77,589.50 in payments made toward the principal
22    balance due on the loan.)
23     The Defendant One 2010 Ford Mustang Shelby CT600 was purchased
24                  with proceeds traceable to the fraud scheme
25          27.   On or about January 20, 2013, Scott purchased the
26    Defendant One 2010 Ford Shelby at an auction by making a down
27    payment of $22,000.00 (paid via a check drawn on WSS 7279) while
28    financing the remainder of the purchase price via a loan from

                                          12
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 13 of 21 Page ID #:13




1     Woodside Credit, which loan Woodside Credit thereafter sold to
2     Bank of the Pacific.
3           28.   In addition, Scott repaid the loan with 13 checks
4     drawn on WSS 7279 totaling $14,000.00 (including $6,976.52 in
5     payments made toward the principal balance due on the loan.)
6     Scott paid off the loan on or about June 27, 2017 with a check
7     drawn on Morgan Stanley Account 0005 in the amount of $20,000.00
8     (including $19,623.00 in payment toward the remaining principal
9     balance due on the loan.)
10    The Defendant One 1969 L88 Chevrolet Corvette was purchased with
11                   proceeds traceable to the fraud scheme
12          29.   On or about April 19, 2011, Scott purchased the
13    Defendant One 1969 L88 Chevrolet Corvette, financing the
14    purchase via a loan from First Entertainment Credit Union
15    (“FECU”).    Scott repaid the loan with 48 checks drawn on WSS
16    7279 totaling $214,590.00 (including $195,089.71 in payments
17    made toward the principal balance due on the loan.)
18       The Defendant One 2015 Mercedes Benz S65V was purchased with
19                   proceeds traceable to the fraud scheme
20          30.   On or about April 5, 2014, Scott purchased the
21    Defendant One 2015 Mercedes-Benz S65V by making a down payment
22    of $23,215.07 using his American Express credit card with an
23    account number ending in 5005 (“AMEX 5004”), while financing the
24    remainder of the purchase price via a loan from FECU.
25          31.   In addition, Scott repaid the loan with 31 checks
26    drawn on WSS 7279 totaling $83,268.00 (including $71,312.73 in
27    payments made toward the principal balance due on the loan) and
28    paid his AMEX bill with funds drawn from WSS 7279.

                                          13
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 14 of 21 Page ID #:14




1      The Defendant One 2005 Ferrari F430 was purchased with proceeds
2                          traceable to the fraud scheme
3           32.   On or about April 29, 2005, Scott purchased the
4     Defendant One 2005 Ferrari F430 for $206,000.00 with a check
5     drawn on WSS 7279.     The payment was for the entire purchase
6     price of the vehicle.
7        The Defendant One 2014 Ferrari California was purchased with
8                    proceeds traceable to the fraud scheme
9           33.   On or about August 13, 2013, Scott purchased the
10    Defendant One 2014 Ferrari California by making a down payment
11    of $20,000 using AMEX 5004, while financing the remainder of the
12    $234,000 purchase price via a loan from TD Auto Finance.
13          34.   In addition, Scott repaid the loan with at least one
14    check drawn on Morgan Stanley Account 0005 totaling $5,000.00.
15     The Defendant One 2009 Cigarette 38’ Top Gun Boat was purchased
16                 with proceeds traceable to the fraud scheme
17          35.   Scott purchased the Defendant One 38-foot Top Gun boat
18    on August 12, 2013 via a personal check drawn on a Wells Fargo
19    account with the last four digits ending in 0714 (“Wells Fargo
20    Account 0714”) for $25,000.00 and a September 5, 2013 electronic
21    wire transfer from the same Wells Fargo account in the amount of
22    $240,550.00.
23          36.   Deposits into Wells Fargo Account 0714 on or about the
24    time the Top Gun boat was purchased were comprised primarily of
25    rental payments from tenants living in properties in Malibu (the
26    “Malibu House”) and Santa Monica (“Santa Monica condo”) owned by
27    Scott, and a payment to Scott for the purchase of the furniture
28    in the Malibu House.     These funds were then used to purchase the

                                          14
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 15 of 21 Page ID #:15




1     Defendant One 38-foot Top Gun boat and are traceable to the
2     fraud scheme for the reasons set forth below.
3           37.   Scott purchased the Malibu House in the first quarter
4     of 2004 for an undisclosed amount via Chicago Title Company and
5     Malibu Escrow.    Check #1258, drawn on WSS 5203 for $117,000.00,
6     was payable to Malibu Escrow and cleared on or about January 14,
7     2004.   Checks drawn on WSS 7279 (and its predecessor account)
8     were used to make mortgage payments of at least $400,000.00
9     toward the $3 million mortgage held by FECU during the time that
10    Scott owned the Malibu House.
11          38.   Deposits to Wells Fargo Account 0714 in 2013 prior to
12    the purchase of the Top Gun Boat included $60,000 from
13    individuals to whom Scott was renting the Malibu House as well
14    as a wire transfer in the amount of $450,000.00 on or about June
15    19, 2013 from the individual to whom Scott sold the Malibu House
16    on or about July 3, 2013.      The $450,000.00 out of escrow payment
17    was allegedly for furnishings located within the Malibu House.
18    Between February, 2004, and July, 2013, the time frame in which
19    Scott was the owner of the Malibu House, at least $68,000.00 was
20    charged to Scott’s American Express 5004 for furniture
21    purchases.    AMEX 5004 was frequently paid with checks and ACH
22    payments from WSS 7279 and appeared to function as the business
23    credit card for WSS.
24          39.   Deposits into Wells Fargo Account 0714 between March
25    7, 2013 and September 5, 2013 also included six checks totaling
26    $42,000.00 from an individual renting the Santa Monica Condo.
27    Scott purchased the Santa Monica Condo on July 1, 2003 for
28    $520,000.00.    Check #503, in the amount of $50,000.00 and drawn

                                          15
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 16 of 21 Page ID #:16




1     on Morgan Stanley Account 0005 was payable to “BST Escrow” and
2     cleared on or about March 3, 2003.        Scott financed the remainder
3     of the purchase price via a loan for $416,000.00 from National
4     Cooperative Bank (“NCB”).      In addition, prior to September,
5     2013, Scott repaid the loan with over 100 checks drawn on WSS
6     7279 totaling approximately $331,925.00.
7      The Defendant $150,527.00 Seized From City National Securities
8             Account 9974 represents proceeds of the fraud scheme
9           40.    CNS Account 9974, held in Scott’s name, was initially
10    funded via a transfer of $200,000.00 on March 19, 2014 from
11    Scott’s CNB personal checking account CNB 6612, and $200,000.00
12    and $2,000.00 were transferred from CNB 6612 to CNS 9974 on
13    August 27, 2014 and January 20, 2016, respectively.
14          41.    Pre March 19, 2014 deposits into CNB #6612 included a
15    $60,000 transfer from WSS 7279, check deposits totaling $27,000
16    from WSS 3502, and check deposits totaling $26,345.53 from WSS
17    7279.   On August 26, 2014, $203,000 was transferred from WSS
18    7279 to CNB 6612 and, as mentioned above, $200,000 was
19    transferred on August 27, 2014 to CNS 9974.
20    The Defendant $108,526.76 Seized From TD Ameritrade Account 3394
21                    represents proceeds of the fraud scheme
22          42.    TD Ameritrade Account 3394 is held in the name of
23    Scott and his spouse.     On July 3, 2013, $1,375,671.69 was wire
24    transferred from Malibu Escrow Corp. to TD Ameritrade Account
25    3394.   The payment details indicate “Further Credit to Rene
26    Scott”.     The wire transfer coincided with the closing date for
27    the sale of the Malibu House which, as described in Paragraph 37
28    above, represented proceeds of the fraud scheme.          The Defendant

                                          16
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 17 of 21 Page ID #:17




1     $108,526.76 in bank funds represent the fraud proceeds remaining
2     in the account at the time the funds were seized by the
3     Government.
4                 The Defendant $213,694.00 in U.S. Currency represents
5                           proceeds of the fraud scheme
6           43.     Between 2007 and 2017, only $269,985.00 in cash was
7     deposited into the five previously-mentioned WSS bank accounts,
8     which is a small percentage of the cash collected by WSS during
9     this time period.
10          44.     WSS employees would hand-deliver cash parking revenue
11    generated by the Barrington Place parking lot, directly to
12    Scott.      One former employee of WSS estimated he personally
13    delivered approximately $1,300 per week in cash from Barrington
14    Place parking lot income to Scott, and estimated UCLA baseball
15    parking generated approximately $300 during small games and
16    $1,000-$2,000 during larger games.
17          45. According to the former VA contracting officer, Scott
18    did not report income from construction and subcontractor
19    parking in Lot 29.
20          46.     As described in Paragraph 8, Scott under reported or
21    failed to report cash revenues, potentially totaling $1 million
22    or more, from parking at the Barrington Place parking lot, UCLA
23    baseball games, and other cash parking events.
24          47.     Additionally, as discussed above in paragraph 10,
25    Scott told the VA contracting officer to whom he was giving cash
26    bribes “Told you a hundred times, I told you, and I told you,
27    and I told you, make sure you’re not depositing this.”           Scott
28    was clearly concerned about illegal proceeds being deposited

                                          17
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 18 of 21 Page ID #:18




1     into a bank account.     It is therefore unlikely that Scott would
2     have deposited cash earned from WSS business that was not
3     reported to VA into any bank account, as it would have created a
4     financial trail that could be tracked by law enforcement.
5            48.   During the execution of the Federal search warrant at
6     Scott’s residence on November 8, 2017, agents found and seized
7     the Defendant $213,694.00 and a money counting machine.
8            49.   On December 7, 2017, a Grand Jury in this District
9     returned an Indictment against Richard Scott, in the case of
10    United States v. Richard Scott, CR 17-00754-RGK, charging Scott
11    with violating 18 U.S.C. §§ 371 (Conspiracy to Commit Bribery
12    and Major Fraud Against the United States), 1031 (Major Fraud
13    Against the United States), 1343 (Wire Fraud), 2314 (Interstate
14    Transportation of Money Obtained by Fraud), and 2 (Aiding and
15    Abetting and Causing an Act to be Done).
16           50.   Based on the above, plaintiff alleges that the
17    defendant assets represent or are traceable to proceeds of one
18    or more violations of 18 U.S.C. § 1343 (wire fraud), which is a
19    specified unlawful activity as defined in 18 U.S.C. §§
20    1956(c)(7)(A) and 1961(1)(B).       The defendant assets are
21    therefore subject to forfeiture pursuant to 18 U.S.C. §§
22    981(a)(1)(A) and (C).     To the extent that the defendant bank
23    funds are not the actual monies directly traceable to the
24    illegal activity identified herein, plaintiff alleges that the
25    defendant bank funds are identical property found in the same
26    account as the property involved in the specified offense,
27    rendering them subject to forfeiture pursuant to 18 U.S.C. §
28    984.

                                          18
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 19 of 21 Page ID #:19




1            51.   Based on the above, Plaintiff alleges that the
2     defendant assets constitute property involved in one or more
3     transactions in violation of 18 U.S.C. § 1956(a)(1)(B)(i), or
4     property traceable to such property, with the specified unlawful
5     activity being violations of 18 U.S.C. § 1343 (wire fraud).            The
6     defendant assets are therefore subject to forfeiture pursuant to
7     18 U.S.C. § 981(a)(1)(A).      To the extent that the defendant bank
8     funds are not the actual monies directly traceable to the
9     illegal activity identified herein, plaintiff alleges that the
10    defendant bank funds are identical property found in the same
11    account as the property involved in the specified offense,
12    rendering them subject to forfeiture pursuant to 18 U.S.C. §
13    984.
14           52.   Based on the above, Plaintiff alleges that the
15    defendant assets constitute property involved in one or more
16    transactions in violation of 18 U.S.C. § 1957, or property
17    traceable to such property, with the specified unlawful activity
18    being violations of 18 U.S.C. § 1343 (wire fraud).          The
19    defendant assets are therefore subject to forfeiture pursuant to
20    18 U.S.C. § 981(a)(1)(A).      To the extent that the defendant bank
21    funds are not the actual monies directly traceable to the
22    illegal activity identified herein, plaintiff alleges that the
23    defendant bank funds are identical property found in the same
24    account as the property involved in the specified offense,
25    rendering them subject to forfeiture pursuant to 18 U.S.C. §
26    984.
27
28

                                          19
     Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 20 of 21 Page ID #:20




1           WHEREFORE, plaintiff United States of America prays:
2           (a)   that due process issue to enforce the forfeiture of
3     the defendant assets;
4           (b)   that due notice be given to all interested parties to
5     appear and show cause why forfeiture should not be decreed;
6           (c)   that this Court decree forfeiture of the defendant
7     assets to the United States of America for disposition according
8     to law; and
9           (d)   for such other and further relief as this Court may
10    deem just and proper, together with the costs and disbursements
11    of this action.
12    DATED: April 27, 2018              NICOLA T. HANNA
13                                       United States Attorney
                                         LAWRENCE S. MIDDLETON
14                                       Assistant United States Attorney
                                         Chief, Criminal Division
15                                       STEVEN R. WELK
                                         Assistant United States Attorney
16                                       Chief, Asset Forfeiture Section
17
18                                       /s/ Jonathan Galatzan
                                         JONATHAN GALATZAN
19                                       Assistant United States Attorney

20                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
21
22
23
24
25
26
27
28

                                          20
Case 2:18-cv-03596-RGK-KS Document 1 Filed 04/27/18 Page 21 of 21 Page ID #:21
